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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEVADA

                                            NOTICE

                   CONTACT THE U. S. PROBATION OFFICE TODAY

The Court has ordered that the United States Probation Office complete a presentence
investigation report in your case. You, and/or your attorney are instructed to contact the U. S.
Probation Office, or report in person, within 24 hours, to schedule the presentence interview. The
United States Probation Office is located at:

                                 United States Probation Office
                                     400 S. Virginia Street
                                           Suite 103
                                     Reno, Nevada 89501
                                         775-686-5980

Upon reporting to the United States Probation Office, present this form to the receptionist. In the
event you, or your attorney, are unable to contact the United States Probation Office today, you or
your attorney must contact the United States Probation Office on the following business day. If
you have any questions, please contact your attorney and the probation office forthwith.

NOTE TO ATTORNEYS: If your defendant is in custody, it is your responsibility to contact
the United States Probation Office forthwith to schedule the presentence interview.

                               Case No.: 3:15-cr-64-LRH-WGC-3

                                Re Defendant: Emmanuel Navarro

                               Attorney for Defendant: Janice Hubbard

                                      Date of Plea: 5/31/16

                    Date/Time of Sentencing: Monday, 8/29/16 at 1:30 p.m.

Original to Defendant                                               _____ on Bond
Copy to Attorney
Copy to U.S. Probation                                              __X___ in Custody
Copy to Court file
